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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11   DEANNA H., 1                                  Case No. CV 21-4658 PVC
12                       Plaintiff,
13          v.                                                JUDGMENT
14   KILOLO KIJAKAZI, 2 Acting
     Commissioner of Social Security,
15
16                              Defendant.
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18
19         The Court having approved the parties’ Stipulation to Voluntary Remand Pursuant
20   to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment for Plaintiff
21   (“Stipulation to Remand”), IT IS HEREBY ORDERED, ADJUDGED AND
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25   1
      The Court partially redacts Plaintiff’s name in compliance with Federal Rule of Civil
     Procedure 5.2(c)(2)(B) and the recommendation of the Committee on Court
26   Administration and Case Management of the Judicial Conference of the United States.
27   2
      Kilolo Kijakazi, Acting Commissioner of the Social Security Administration, is
     substituted for her predecessor originally named in the complaint. See 42 U. S. C.
28   § 405(g); Fed. R. Civ. P. 25(d).
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 1   DECREED that the above-captioned action is remanded to the Commissioner of Social
 2   Security for further proceedings consistent with the Stipulation to Remand.
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 4   DATED: October 28, 2021
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 6                                            PEDRO V. CASTILLO
                                              UNITED STATES MAGISTRATE JUDGE
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